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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK


GEIGTECH EAST BAY LLC,

                    Plaintiff,
                                                          Civil Action No. 1:18-cv-05290
       v.
                                                           JURY TRIAL DEMANDED
LUTRON ELECTRONICS CO., INC.,
            Defendant.


                DECLARATION OF GARY R. SORDEN IN SUPPORT OF
              PLAINTIFF’S MOTION FOR A PRELIMINARY INJUNCTION

       1.      My name is Gary R. Sorden. I am over 18 years of age, of sound mind, capable of

making this declaration, and personally acquainted with the facts stated herein. I have personal

knowledge of the facts in this declaration, and they are true and correct.

       2.      I am an attorney licensed in the state of Texas and have been retained to represent

Geigtech East Bay LLC d/b/a J Geiger (“J Geiger”) in this matter.

       3.      Exhibit 1 to this declaration are J. Geiger’s claim charts comparing the claims 9 and

15 of United States Patent No. 9,237,821 and Defendant Lutron Electronics Co. Inc.’s (“Lutron”)

Palladiom Shading System.

       4.      Exhibit 2 to this declaration is a true and correct copy of the file

Palladiom_Shading_System_Brochure.pdf cited in J Geiger’s infringement charts and available

from Lutron’s website at:

http://www.lutron.com/TechnicalDocumentLibrary/Palladiom_Shading_System_Brochure.pdf

       5.      The URL from which Exhibit 2 was downloaded was last visited on June 5, 2018.

       6.      Exhibit 3 to this declaration is a true and correct copy of the file

Palladiom_Shading_System_Spec_Submittal.pdf cited in J Geiger’s infringement charts and

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available from Lutron’s website at:

http://www.lutron.com/TechnicalDocumentLibrary/Palladiom_Shading_System_Spec_Submittal.pdf

        7.      The URL from which Exhibit 3 was downloaded was last visited on June 5, 2018.

        8.      J Geiger’s infringement charts also contain true and correct cropped screen shots

from this video on YouTube: https://youtu.be/p_n5AMkXp_s?t=177. This URL was last visited

on June 5, 2018.

        Pursuant to 28 U.S.C. Section 1746, I declare under penalty of perjury that the foregoing

is true and correct.



Executed on June 15, 2018                             /s/ Gary R. Sorden
                                                      Gary R. Sorden




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